                                                     Case 4:07-cv-05944-JST Document 2553-12 Filed 04/30/14 Page 1 of 2




                                                1                             UNITED STATES DISTRICT COURT
                                                                             NORTHERN DISTRICT OF CALIFORNIA
                                                2
                                                                                (SAN FRANCISCO DIVISION)
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                                                    IN RE: CATHODE RAY TUBE (CRT)                     Case No. 07-5944 SC
                                                5   ANTITRUST LITIGATION                                MDL No. 1917
                                                6
                                                7   This Document Relates to
                                                8   Case No. 13-cv-1173-SC (N.D. Cal.)

                                                9   SHARP ELECTRONICS CORP., et al.,
                                               10                                               [PROPOSED] ORDER GRANTING
                                                                        Plaintiffs,
                                                                                                THE TOSHIBA DEFENDANTS’
                                               11
                                                                                                MOTION FOR LEAVE TO FILE
                                               12        v.
                                                                                                SURREPLY IN OPPOSITION TO
                   701 Thirteenth Street, NW
                    Washington, DC 20005
White & Case LLP




                                                                                                SHARP’S MOTION FOR LEAVE
                                               13   HITACHI, LTD., et al.,
                                                                                                TO AMEND
                                               14
                                                                        Defendants.
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                                                      [PROPOSED] ORDER GRANTING THE TOSHIBA DEFENDANTS’ MOTION FOR LEAVE TO FILE
                                                             SURREPLY IN OPPOSITION TO SHARP’S MOTION FOR LEAVE TO AMEND
                                                                                   Case No. 07-5944 SC
                                                                                     MDL No. 1917
                                                      Case 4:07-cv-05944-JST Document 2553-12 Filed 04/30/14 Page 2 of 2




                                                1          Upon consideration of the Toshiba Defendants’ Notice of Motion and Motion for
                                                2   Leave to File Surreply in Opposition to Sharp’s Motion for Leave to Amend, it is hereby
                                                3          ORDERED that the Toshiba Defendants’ Motion for Leave to File Surreply in
                                                4   Opposition to Sharp’s Motion for Leave to Amend is GRANTED; and it is further
                                                5          ORDERED that the Toshiba Defendants have leave to file their Surreply in Opposition
                                                6   to Sharp’s Motion for Leave to Amend.
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                                                8          IT IS SO ORDERED
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                                               10   DATED:__________________                    _______________________________
                                               11                                                         Hon. Samuel Conti
                                                                                                       United States District Judge
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                   701 Thirteenth Street, NW
                    Washington, DC 20005
White & Case LLP




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                                                        [PROPOSED] ORDER GRANTING THE TOSHIBA DEFENDANTS’ MOTION FOR LEAVE TO FILE
                                                               SURREPLY IN OPPOSITION TO SHARP’S MOTION FOR LEAVE TO AMEND
                                                                                     Case No. 07-5944 SC
                                                                                       MDL No. 1917
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